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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

LAURA WONDERCHECK                                    §
                                                     §
Plaintiff                                                   Case No. 1:19-CV-00640-LY
                                                     §
                                                     §
VS.                                                  §
                                                     §
MAXIM HEALTHCARE SERVICES, INC.                      §
                                                     §
Defendant


                         ORDER SETTING INITIAL PRETRIAL CONFERENCE

            IT IS HEREBY ORDERED that the above entitled and numbered case has been set for

an INITIAL PRETRIAL CONFERENCE in Chambers, on the Seventh Floor of the United

States Courthouse, 501 West Fifth Street, Austin, Texas on January 29, 2020 at 3:30 PM.

            The parties’ proposed scheduling order is tentatively approved and the parties shall

comply with the dates set forth in paragraphs 1 through 7 of such proposed order pending the

initial pretrial conference.

            At the initial pretrial conference, the Court will schedule a final pretrial conference and

set a trial month.

            SIGNED this 2nd day of December, 2019.




                                                         ________________________________
                                                         LEE YEAKEL
                                                         UNITED STATES DISTRICT JUDGE
